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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF NEW YORK

________________________________________

KEVIN S. BELLEGARDE,

                                       Petitioner,                     DECISION AND ORDER
                                                                       99-CR-6090-CJS
-vs-                                                                   03-CV-6308-CJS

UNITED STATES OF AMERICA,

                           Respondent.
________________________________________

                                         APPEARANCES

For petitioner:                                Kevin S. Bellegarde, pro se
                                               No. 50758-019
                                               Federal Correctional Institution, Loretto
                                               P.O. Box 2000
                                               Fort Dix, NJ 08640

For respondent:                                Frank H. Sherman, A.U.S.A.
                                               United States Attorney’s Office
                                               100 State Street Room 620
                                               Rochester, NY 14614


                                         INTRODUCTION

       Petitioner Kevin S. Bellegarde (“petitioner”), proceeding pro se, moves this Court to

vacate, set aside, or correct his sentence pursuant to 28 U.S.C. § 2255.1 He challenges his

conviction on allegations that he was denied effective assistance of counsel and that he


1
 W hile section 2255 is often referred to as a habeas corpus provision, such characterization is
technically incorrect because, rather than authorizing the granting of a writ, the statute provides
for a federal court to consider a motion that is, in effect, a continuation of the underlying criminal
proceeding. See 28 M OORE ’S F EDERAL P RACTICE § 672.02[2][b] (3d Ed. 1999). Similarly,
although prisoners file motions rather than petitions to initiate section 2255 proceedings, their
motion papers are generally referred to as petitions and the prisoners are referred to as
petitioners. In the interests of conformity and convenience, this Court will refer to Kevin S.
Bellegarde as “petitioner” and to the United States as “respondent.”
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entered an unlawfully induced or involuntarily made guilty plea. For the reasons that follow,

petitioner’s motion is denied.

                                      BACKGROUND

       Petitioner, pursuant to a written plea agreement, pled guilty, to Counts One and Four

in a second superseding indictment. Count One accused him of conspiracy to distribute

fifty grams or more of cocaine base in violation of 21 U.S.C. § 846, and Count Four

accused him of possession of a firearm in furtherance of a drug trafficking crime in violation

of 18 U.S.C. § 924(c)(1). Subsequently, petitioner moved to withdraw his guilty plea, but

his application was denied. The Court, therefore, in accordance with the plea agreement,

sentenced him to 240 months imprisonment on Count One, and a consecutive 60 months

on Count Four, for a total of 300 months, followed by five years of supervised release, a

fine of $1,500 and a special assessment of $200.

       Petitioner appealed his conviction to the United States Court of Appeals for the

Second Circuit raising the following issues:

       1.     The District Court erred in not allowing defendant to withdraw his plea
              and also in not granting a hearing on this issue.

       2.     The defendant was under duress and coercion at the time he took the
              plea.

       3.     The defendant did raise a legitimate claim regarding ineffective assistance
              of counsel.

       4.     The District Court erred in failing to award any credit for acceptance of
              responsibility and also, for enhancing defendant’s sentence two levels for
              obstruction of justice.

       5.     The District Court failed to obtain a sufficient factual basis for the plea.




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(Brief for Defendant-Appellant at i.) In a summary order issued on June 28, 2002, the

Second Circuit affirmed petitioner’s conviction and sentence. United States v. Bellegarde,

No. 01-1397, 39 Fed. Appx. 646 (2d Cir., Jun. 28, 2002).

       Petitioner now raises two grounds upon which he argues he is entitled to relief under

§ section 2255. The first is his claim that he was denied effective assistance of counsel

based upon his contentions that: counsel failed to move for dismissal of the indictment

under Jones v. United States, 526 U.S. 227 (1999), Apprendi v. New Jersey, 530 U.S. 466

(2000), and Blakely v. Washington, 542 U.S. 296 (2004); counsel erroneously advised

petitioner that buying drugs from his brother, a co-defendant in the second superseding

indictment, to sell to others and having a gun during the time frame of the conspiracy

alleged in the indictment was sufficient to convict him of the conspiracy offense;

and counsel failed to object to imposition of an “additional” sixty-month sentence imposed

for the plea to possession of a firearm in furtherance of a drug trafficking crime, which

petitioner argues was “a substantive count or overt act of” the conspiracy charge. As to the

second ground, petitioner maintains that he is entitled to relief under section 2255 because

the Court failed to fully advise him of the elements of conspiracy at the time of his plea.

(Pet. at 5-6.)

                                  LEGAL STANDARDS

       Title 28 U.S. Code § 2255 provides, in relevant part, as follows:

       A prisoner in custody under sentence of a court established by Act of
       Congress claiming the right to be released upon the ground that the sentence
       was imposed in violation of the Constitution or laws of the United States, or
       that the court was without jurisdiction to impose such sentence, or that the
       sentence was in excess of the maximum authorized by law, or is otherwise
       subject to collateral attack, may move the court which imposed the sentence
       to vacate, set aside or correct the sentence.

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28 U.S.C. § 2255 (2005).2 The Court may dismiss a section 2255 petition without

conducting a hearing if the petition and the record “conclusively show” that petitioner is not

entitled to relief. Id.

A.        Ineffective Assistance of Counsel

          The seminal case of Strickland v. Washington, 466 U.S. 668, 687 (1984) laid out the

test for ineffective assistance of counsel:

          A convicted defendant’s claim that counsel’s assistance was so defective as
          to require reversal of a conviction or death sentence has two components.
          First, the defendant must show that counsel’s performance was deficient.
          This requires showing that counsel made errors so serious that counsel was
          not functioning as the “counsel” guaranteed the defendant by the Sixth
          Amendment. Second, the defendant must show that the deficient
          performance prejudiced the defense. This requires showing that counsel’s
          errors were so serious as to deprive the defendant of a fair trial, a trial whose
          result is reliable. Unless a defendant makes both showings, it cannot be said
          that the conviction or death sentence resulted from a breakdown in the
          adversary process that renders the result unreliable.

Strickland, 466 U.S. at 687.

B.        Adequacy of Plea Colloquy

          If a defendant fails to object to the adequacy of a plea colloquy, then the standard

of review on appeal is solely for plain error. See United States v. Knobloch, 131 F.3d 366,

370 (3d Cir. 1997). Federal Rule of Criminal Procedure 11 states in pertinent part:

          Advising and Questioning the Defendant. Before the court accepts a plea of
          guilty or nolo contendere, the defendant may be placed under oath, and the
          court must address the defendant personally in open court. During this
          address, the court must inform the defendant of, and determine that the
          defendant understands, the following:

          (A) the government's right, in a prosecution for perjury or false statement, to
          use against the defendant any statement that the defendant gives under oath;


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    Section 2255 was last amended in 1996.

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       (B) the right to plead not guilty, or having already so pleaded, to persist in
       that plea;

       (C) the right to a jury trial;

       (D) the right to be represented by counsel--and if necessary have the court appoint
       counsel--at trial and at every other stage of the proceeding;

       (E) the right at trial to confront and cross-examine adverse witnesses, to be
       protected from compelled self-incrimination, to testify and present evidence, and to
       compel the attendance of witnesses;

       (F) the defendant's waiver of these trial rights if the court accepts a plea of guilty or
       nolo contendere;

       (G) the nature of each charge to which the defendant is pleading;

       (H) any maximum possible penalty, including imprisonment, fine, and term of
       supervised release;

       (I) any mandatory minimum penalty;

       (J) any applicable forfeiture;

       (K) the court's authority to order restitution;

       (L) the court's obligation to impose a special assessment;

       (M) the court's obligation to apply the Sentencing Guidelines, and the court's
       discretion to depart from those guidelines under some circumstances; and

       (N) the terms of any plea-agreement provision waiving the right to appeal or to
       collaterally attack the sentence.

       (2) Ensuring That a Plea Is Voluntary. Before accepting a plea of guilty or
       nolo contendere, the court must address the defendant personally in open
       court and determine that the plea is voluntary and did not result from force,
       threats, or promises (other than promises in a plea agreement).

       (3) Determining the Factual Basis for a Plea. Before entering judgment on a
       guilty plea, the court must determine that there is a factual basis for the plea.

Fed. R. Crim. P. 11(b)(1)–(3). As the Sixth Circuit recently held:



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      Rule 11 does require that before a district court accepts a defendant's guilty
      plea it must ensure that the defendant understands “the nature of each
      charge to which the defendant is pleading.” FED . R. CRIM . P. 11(b)(1)(G). To
      satisfy this requirement, however, a district court judge “[i]n a simple case”
      need only read the indictment to the defendant and permit the defendant to
      ask questions about the charges. United States v. Valdez, 362 F.3d 903, 908
      (6th Cir. 2004) (internal quotation omitted); see also Bousley, 523 U.S. at
      618, 118 S.Ct. 1604 (noting that where a defendant has been provided a
      copy of the information prior to a change of plea a “presumption that the
      defendant was informed of the nature of the charge against him” arises).
      While a more thorough explanation may be necessary if the charges are
      complex, ultimately all that is required is that “the district court ... be satisfied,
      after discussion with the defendant in open court, that the defendant
      understands the elements of the offense.” United States v. Syal, 963 F.2d
      900, 905 (6th Cir. 1992); see also United States v. Edgecomb, 910 F.2d
      1309, 1313 (6th Cir. 1990) (the elements of a charge need not be explained
      further by the district court where the charge “is simple enough for a lay
      person to understand”).

United States v. Webb, 403 F.3d 373, 379 (6th Cir. 2005).

C.    Procedural Default

      “It is well-settled that where a petitioner does not bring a claim on direct appeal, he

is barred from raising the claim in a subsequent § 2255 proceeding unless he can establish

both cause for the procedural default and actual prejudice resulting therefrom.” Billy-Eko

v. United States, 8 F.3d 111, 113-14 (2d Cir. 1993) (citation omitted), abbrogated on other

grounds by Massaro v. United States, 538 U.S. 500 (2003).

                                          ANALYSIS

      Respondent contends that petitioner has procedurally defaulted on the first two

aspects of his ineffective assistance of counsel claim. The Court disagrees. Massero v.

United States, No. 01-1559, 538 U.S. 500 (2003). In Massero, the Supreme Court held that

“an ineffective-assistance-of-counsel claim may be brought in a collateral proceeding under

§ 2255, whether or not the petitioner could have raised the claim on direct appeal.”


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Massaro, 538 U.S. at 504. Respondent’s memorandum of law does not cite Massaro, but

the clear implication of that ruling is that petitioner’s first two claims in his § 2255 application

are not procedurally barred. See Pitcher v. United States, 371 F. Supp. 2d 246, 263

(E.D.N.Y. 2005).

       Turning to the merits of petitioner’s ineffective assistance of counsel claim, he first

argues that under Jones, Apprendi and Blakely, counsel was obligated to move for

dismissal of the indictment3 because of the indictment’s failure to notify him of the quantity

and type of drug with which he was being charged. Count One of the second superseding

indictment, to which the petitioner plead guilty, informed him that the conspiracy with which

he was charged involved possession, with intent to distribute, “50 grams or more of a

mixture or substance containing cocaine base, a Schedule II controlled substance, and a

mixture or substance containing marijuana, a Schedule I controlled substance….” (Second

Superseding Indictment at 2). The plea agreement included the following information with

regard to quantity and type of drug:

       [f]or purposes of this plea agreement only, the equivalent under the
       Guidelines of approximately four hundred grams of cocaine base (crack) is
       the amount involved in defendant’s relevant conduct encompassed in Count
       One of the Second Superseding Indictment which could be readily proven by
       the government at trial or at a sentencing hearing against the defendant.

(Plea Agreement at 5.)

       In United States v. Luciano, 311 F.3d 146, 150 (2d Cir. 2002), the Second Circuit

analyzed the application of Apprendi in a situation similar to the case at bar:



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 Petitioner refers generally to the indictment in his notice of motion, but the discussion in his
accompanying memorandum of law (at 15) clearly refers to the drug conspiracy count in the
second superseding indictment.

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       In Apprendi, the Supreme Court held that “any fact [other than the fact of a
       prior conviction] that increases the penalty for a crime beyond the prescribed
       statutory maximum must be submitted to a jury, and proved beyond a
       reasonable doubt.” 530 U.S. at 490. This court sitting in banc has applied that
       teaching to determinations of drug type and quantity under 21 U.S.C. § 841,
       to the extent that those determinations lead to the imposition of a sentence
       greater than the otherwise applicable statutory maximum. United States v.
       Thomas, 274 F.3d 655 (2d Cir. 2001). As we summarized our holding in
       Thomas, “Even if . . . not charged in the indictment or found by the jury, . . .
       drug . . . quantity may be used to determine the appropriate sentence so long
       as the sentence imposed is not greater than the maximum penalty authorized
       by statute for the offense charged in the indictment and found by the jury.” Id.
       at 673. The touchstone of the constitutional inquiry under Apprendi is
       whether the sentence actually imposed, on the basis of drug quantity not
       found by the jury, exceeds the statutory maximum that would have applied
       in the absence of such a finding.

Luciano, 311 F.3d at 150. The statutory maximum sentence of confinement for the charge

in Count One of the second superseding indictment, is “not … less than 10 years or more

than life….” 21 U.S.C. § 841(b)(1)(A). The Court’s sentence on Count One was 240

months, or 20 years. Since the sentence imposed is within the limits of the crime charged

in the indictment, there is no Apprendi violation.

       Petitioner also asserts that he was deprived on notice since the indictment did not

indicate the quantity of crack cocaine the government was planning to prove was

chargeable to the conspiracy, other than “50 grams or more of a mixture or substance

containing cocaine base….” Petitioner argues, that, had he known, that he would be

admitting to responsibility for 400 grams, he would have taken his case to trial. (Pet.’s

Mem. of Law at 17 n.5.) This argument ignores the fact that petitioner represented to the

Court during his plea colloquy that he had read the plea agreement himself “numerous

times” (Plea Trans. at 6), that the plea agreement very specifically states that he was

admitting to possession of 400 grams of cocaine base (Plea Agreement at 5), and that the


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Court carefully pointed out to him during his plea allocution, “you are agreeing the amount

of drugs you were involved in, for purposes of this plea is approximately 400 grams of

cocaine base; do you agree with that?,” to which petitioner answered, “Yes” (Plea Trans.

at 28.) Therefore, petitioner’s argument that he received ineffective assistance of counsel,

because counsel failed to move to dismiss the indictment in violation of Jones, Apprendi

and Blakely, is without merit.

       As to the second aspect of petitioner’s ineffective assistance claim, he maintains that

his counsel was ineffective because he misadvised him that “his acts of buying drugs from

his brother (co-conspirator Tracey Roach) to sell to others, and having a gun during the

time frame of the alleged drug conspiracy, and possession of 6 grams of base cocaine

were acts sufficient to convict him of the conspiracy offense.” (Pet. at 5.) In his

memorandum of law, petitioner states that his counsel advised him that purchase of drugs

from his brother “for his own interest was still conduct [sic] of a conspiracy.” (Pet.’s Mem.

of Law at 20.) Even if the Court were to accept these allegations as true, they would not

warrant relief under § 2255 since plaintiff has failed to show how any deficiency in his

counsel’s explanation of the elements of the two offenses to which he plead guilty

prejudiced him.

       In that regard, during his plea colloquy (Plea Trans. at 26.), the Court directed

petitioner’s attention to paragraph four on page three of the Plea Agreement, which states:

       a.       The elements of the offense of conspiracy to violate the drug laws of
       the United States, in violation of Title 21, United States Code, Section 846,
       which are: (1) the existence of the conspiracy charged in County One fo the
       Second Superseding Indictment; that is, an agreement or understanding
       between two or more persons to violate those provisions of the law which it
       illegal to distribute cocaine base or marijuana or to possess cocaine base or
       marijuana with the intent to distribute it; and (2) that the defendant knowingly

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      became a member of the conspiracy; that is, that he knowingly associated
      himself with and participated in the alleged conspiracy to distribute or
      possess with the intent to distribute cocaine base or marijuana. Intent to
      distribute is established if a defendant intended to cause or assist the
      distribution of the controlled substance; and

      b.      The elements of the offense of possession of a firearm in furtherance
      of a drug trafficking crime, in violation of Title 18, United States Code,
      Section 924(c), which are: (1) that the defendant committed a drug trafficking
      crime for which he might be prosecuted in a court of the United States; and
      (2) that the defendant knowingly possessed a firearm in furtherance of that
      crime. Conspiracy to distribute cocaine base or marijuana or to possess
      cocaine base or marijuana with the intent to distribute it is a federal drug
      trafficking crime. A “firearm” is any weapon which will or is designed to or
      may be readily converted to expel a projectile by the action of an explosive.
      In order to prove that a defendant possessed a firearm, the government must
      prove that the defendant had direct physical control of the weapon, or the
      power and the intention to exercise control over it, in order to advance or
      promote the specified drug trafficking crime.

(Plea Agreement at 3 (emphasis in original).) During the plea colloquy, the Court then

specifically asked defendant the following questions, and he responded as follows:

      THE COURT: The next thing I have to do before I can actually accept your
      plea of guilty is I have to satisfy myself that a factual basis exists for your
      plea.

      In that regard I want to refer you first to paragraph 4 on page 3 because it
      says this; it explains to you what the Government must prove beyond a
      reasonable doubt for a jury to convict you.

      For example, with respect to the conspiracy charge it indicates that the
      elements of the conspiracy charge are one, the existence of the conspiracy
      charged in count one.

      Two, that you knowingly became a member of the conspiracy, and that
      knowingly became a member of the conspiracy is explained; do you see
      that?

      THE DEFENDANT: Yes.

      THE COURT: If the Government didn’t prove to a jury both of those elements
      beyond a reasonable doubt, you could not be convicted of that crime; do you
      understand that?

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       THE DEFENDANT: Yes sir.

(Plea Trans. at 26.) In light of the Court’s questioning, petitioner’s assertion that he

misunderstood the elements of conspiracy because they were wrongly explained to him by

his counsel lack merit. If counsel had told petitioner that he could be convicted of

conspiracy based on buying drugs from his brother to sell to others, then petitioner would

have questioned the Court as he did with regard to the Court’s explanation of the necessity

for conviction on the conspiracy charge in order to be eligible for conviction on the gun

possession in furtherance charge. (See Plea Trans. at 27.)

       The Court additionally rejects his argument, also in Ground Two of the section 2255

application, that counsel’s performance was defective because counsel did not explain to

him that in order to be convicted of Count Four, the government would have had to show

that his possession of the gun was in furtherance of drug trafficking. As with the conspiracy

charge, the elements of the gun possession charge were fully explained in the plea

agreement, and petitioner’s attention was directed to the plea agreement during his plea

colloquy. (Plea Trans. at 26-27.) Moreover, as indicated above, petitioner assured the

Court, under oath, that he had read the plea agreement “numerous times.” (Plea Trans. at

8.)

       As to the final aspect of petitioner’s ineffective assistance claim, he argues that since

his conviction of the conspiracy count necessarily included conviction of the gun

possession charge, sentencing him consecutively for the gun possession charge was

“double counting,” and his counsel failed to object to this. (Pet. at 5.) As the respondent

correctly points out, Congress specifically authorized consecutive punishment for the gun


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possession charged here. United States v. Powell, 894 F.2d 895, 899-900 (7th Cir. 1990).

Consequently, petitioner was not wrongfully sentenced to consecutive confinement for

Count Four, and, is not entitled to relief under section 2255 on the theory that his counsel

failed to object to the sentence.

       Now turning to the second ground petitioner alleges as a basis for section 2255

relief, he contends that the Court failed to specifically lay out the elements of conspiracy

as required by United States v. Irizarry, 508 F.2d 960 (2d Cir. 1974). That case is

distinguishable. In Irizarry, the Second Circuit determined that,

       the full charge—conspiracy to possess and distribute cocaine—was never
       even identified. The closest that the court came was to identify the charge as
       “conspiracy”; conspiracy to do what was never mentioned. In addition, the
       court’s discussion of the nature of a conspiracy charge was limited to
       statements that “you can’t conspire with yourself” and “you have to have
       somebody else to conspire with”—hardly an adequate probing of the nature
       of conspiracy. Finally, at no time was Irizarry asked whether he understood
       the nature of the offense with which he was charged, nor did he volunteer
       that information, nor did he say anything from which such an understanding
       might be inferred.

Irizarry, 508 F.2d at 964. Unlike the situation in Irizarry, petitioner here was facing only one

conspiracy charge, and the elements of the charge to which he was pleading guilty were

fully set forth in the Plea Agreement, quoted above, to which the Court directed petitioner’s

attention during the plea hearing. The Court finds no basis for § 2255 relief in this ground.

                                       CONCLUSION

       For the foregoing reasons, petitioner’s motion (Docket # 278) pursuant to 28 U.S.C.

§ 2255 is denied in all respects.4


4
 The Court has reviewed petitioner’s motion and memorandum of law as well his reply and
supplemental authority, in addition to respondent’s papers and concludes, pursuant to Rule 8 of
                                                                                  (continued...)

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       The Court hereby certifies, pursuant to 28 U.S.C. § 1915(a)(3), that any appeal from

this Order would not be taken in good faith, and leave to appeal to the Court of Appeals as

a poor person is denied. Coppedge v. United States, 369 U.S. 438 (1962). Further requests

to proceed on appeal as a poor person should be directed, on motion, to the United States

Court of Appeals for the Second Circuit, in accordance with Rule 24 of the Federal Rules

of Appellate Procedure.

SO ORDERED.

Dated: August 24, 2005
       Rochester, New York

                                ENTER:
                                                        /s/ Charles J. Siragusa
                                                        CHARLES J. SIRAGUSA
                                                        United States District Judge




4
 (...continued)
the Rules Governing § 2255 Proceedings, and finds that no evidentiary hearing is necessary.


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